USCA Case #23-1054       Document #2021975          Filed: 10/16/2023   Page 1 of 7



              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


Sunflower Electric Power Corporation,          )
                                               )
                   Petitioner                  )
                                               )
                                               )
                                               )
                                               )
            v.                                 )               Case No. 23-1264
                                               )
Federal Energy Regulatory Commission,          )
                                               )
                   Respondent.                 )


               MOTION FOR LEAVE TO INTERVENE OF
            KANSAS ELECTRIC POWER COOPERATIVE, INC.

      Pursuant to Rule 15(d) and Rule 27 of the Federal Rules of Appellate

Procedure, and Circuit Rules 15(b) and 27 of the United States Court of Appeals

for the District of Columbia Circuit, Kansas Electric Power Cooperative, Inc.

(“KEPCo”) hereby moves for leave to intervene in the above-captioned proceeding

in support of Petitioner. In support hereof, KEPCo states as follows:

      On September 15, 2023, Sunflower Electric Power Corporation

(“Sunflower”) filed a petition for review pursuant to Section 313(b) of the Federal

Power Act, 16 U.S.C. § 825l(b). Sunflower seeks review of the following orders

of the Federal Energy Regulatory Commission (“FERC”): Southwest Power Pool,

Inc., Docket Nos. ER22-1846-002 and ER22-1846-003, “Order Setting Aside Prior
USCA Case #23-1054       Document #2021975           Filed: 10/16/2023   Page 2 of 7



Order and Dismissing Compliance Filing,” 184 FERC ¶ 61,028 (July 13, 2023)

(“Reversal Order”), on reh’g, Notice of Denial of Rehearing by Operation of Law

and Providing for Further Consideration, Docket No. ER22-1846-004, 184 FERC

¶ 62,145 (Sept. 14, 2023) (“Notice”). On September 22, 2023, the Court issued an

order, on its own motion, consolidating Sunflower’s appeal in the above-captioned

proceeding with Case Nos. 23-1054 and 23-1097.

      KEPCo is a non-profit electric generation and transmission cooperative with

its principal place of business in Topeka, Kansas. KEPCo has 16 rural electric

cooperative member systems, which together distribute electric power to nearly

200,000 rural electric customers in the eastern two-thirds of Kansas. KEPCo is a

transmission-dependent utility and a transmission customer in Southwest Power

Pool, Inc. (“SPP”). KEPCo pays just and reasonable rates for open access

transmission service over the transmission systems under the control of SPP to

deliver power to its members. KEPCo is also a member of SPP.

      Sunflower seeks review of FERC’s orders reversing its prior acceptance of

SPP’s revisions to its Open Access Transmission Tariff to establish a cost

allocation waiver process that would allow entities to request (1) that the remaining

costs of one or more specific prior transmission projects between 100 kV and 300

kV (“Byway Facility(ies)”) be allocated prospectively to transmission customers

on a region-wide basis, and (2) that the costs of a new or upgraded Byway Facility



                                         2
USCA Case #23-1054           Document #2021975               Filed: 10/16/2023       Page 3 of 7



assigned to a Transmission Owner as a result of an SPP planning process be

allocated to transmission customers on a region-wide basis.

       Out of an abundance of caution, KEPCo moves to intervene in the above-

captioned proceeding in support of Petitioner, Sunflower. KEPCo is a party in the

proceedings below and any order issued by the Court in this proceeding will

directly affect KEPCo’s interests. Although KEPCo has already moved to

intervene in the lead case in these consolidated appeals and was previously granted

intervention in the now-transferred Eighth Circuit appeal,1 this Court has not yet

acted on KEPCo’s motion to intervene in Case No. 23-1054. If FERC does not

reverse course on rehearing but instead affirms the Reversal Order, petitioners in

Case Nos. 23-1054 and 23-1097 will no longer be aggrieved by FERC’s action in

the underlying agency proceeding and may seek to withdraw their appeals

(including the lead case in which KEPCo has moved to intervene). Moreover,

KEPCo previously moved to intervene in Case No. 23-1054 in support of

Respondent FERC. KEPCo now moves to intervene in the above-captioned

proceeding in support of Petitioner Sunflower, and to preserve its ability to

participate actively in further proceedings before this Court if the petitions for

review in Case Nos. 23-1054 and 23-1097 are subsequently withdrawn. As a
1
  See D.C. Cir. R. 15(b) (“A motion to intervene in a case before this court concerning direct
review of an agency action will be deemed a motion to intervene in all cases before this court
involving the same agency action or order, including later filed cases, unless the moving party
specifically states otherwise, and an order granting such motion has the effect of granting
intervention in all such cases.”).

                                                3
USCA Case #23-1054        Document #2021975          Filed: 10/16/2023    Page 4 of 7



transmission customer in SPP, KEPCo has a direct and substantial interest in this

case that cannot be adequately represented by any other party.

      This motion is timely filed within 30 days of the filing of the petition for

review pursuant to Rule 15(d) and Rule 26(a)(1) of the Federal Rules of Appellate

Procedure.

      WHEREFORE, for the reasons set forth above, KEPCo respectfully

requests that it be granted leave to intervene in the above-captioned proceeding

with all attendant rights as a party.

                                        Respectfully submitted,


                                        /s/ Kimberly Brickell Frank
                                        Kimberly B. Frank
                                        K&L Gates LLP
                                        1601 K Street, NW
                                        Washington, DC 20006
                                        (202) 778-9064

                                        Attorney for Kansas Electric Power
                                        Cooperative, Inc.

Dated: October 16, 2023




                                          4
USCA Case #23-1054       Document #2021975           Filed: 10/16/2023   Page 5 of 7



              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


Sunflower Electric Power Corporation,          )
                                               )
                   Petitioners                 )
                                               )
                                               )
                                               )
                                               )
             v.                                )                  Case No. 23-1264
                                               )
Federal Energy Regulatory Commission,          )
                                               )
                   Respondent.                 )


              CORPORATE DISCLOSURE STATEMENT OF
            KANSAS ELECTRIC POWER COOPERATIVE, INC.

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, and

Circuit Rule 26.1 of the United States Court of Appeals for the District of

Columbia Circuit, Kansas Electric Power Cooperative, Inc. (“KEPCo”) submits its

Corporate Disclosure Statement in the above-captioned case.

      KEPCo is a cooperative, nonprofit, membership corporation organized under

the Kansas Electric Cooperative Act, K.S.A. 17-4601, et. seq., with its principal

place of business in Topeka, Kansas. KEPCo has 16 rural electric cooperative

member systems, which together distribute electric power to nearly 200,000 rural

electric customers. KEPCo is a transmission-dependent utility and a transmission

customer in Southwest Power Pool, Inc. (“SPP”). KEPCo pays just and reasonable
USCA Case #23-1054       Document #2021975         Filed: 10/16/2023    Page 6 of 7



rates for open access transmission service over the transmission systems under the

control of SPP to deliver power to its members. KEPCo is also a member of SPP.

KEPCo has no parent corporation and issues no stock. Accordingly, no publicly

held corporation owns 10% or more of KEPCo stock.



                                      Respectfully submitted,


                                      /s/ Kimberly Brickell Frank
                                      Kimberly B. Frank
                                      K&L Gates LLP
                                      1601 K Street, NW
                                      Washington, DC 20006
                                      (202) 778-9064

                                      Attorney for Kansas Electric Power
                                      Cooperative, Inc.

Dated: October 16, 2023




                                         2
USCA Case #23-1054       Document #2021975           Filed: 10/16/2023   Page 7 of 7



                         CERTIFICATE OF SERVICE

      In accordance with Rules 15(d) and 25 of the Federal Rules of Appellate

Procedure, I certify that on this 16th day of October 2023, I have served the

foregoing Motion to Intervene and Corporate Disclosure Statement of Kansas

Electric Power Cooperative, Inc. on registered counsel for participants in this case

electronically through the Court’s CM/ECF system.


                                       Respectfully submitted,


                                       /s/ Kimberly Brickell Frank
                                       Kimberly B. Frank
                                       K&L Gates LLP
                                       1601 K Street, NW
                                       Washington, DC 20006
                                       (202) 778-9064

                                       Attorney for Kansas Electric Power
                                       Cooperative, Inc.


Dated: October 16, 2023
